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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

                                CASE NO. 18-CR-00110

 UNITED STATES OF AMERICA,        :
                                  :
                 Plaintiff,       :
                                  :
                                  :
 v.                               :
                                  :
 TRAVELL JONES,                   :
                                  :
                 Defendant.       :
                                  :
 ................................ :

                                MOTION TO WITHDRAW

       Undersigned counsel, Paul D. Petruzzi, respectfully requests that this Honorable

 Court enter an order permitting him to withdraw as counsel for Travell Jones. In support,

 undersigned counsel states as follows:

       1.      Undersigned was retained to represent Mr. Jones for trial purposes only.

 Mr. Jones’s sentencing took place on July 19, 2019. (DE 216). The matter is now

 closed.    Accordingly, undersigned is respectfully requesting that he be permitted to

 withdraw from this matter.

       2.      On July 27, 2019, undersigned spoke with Mr. Jones who advises that he

 will be contacting the Court to confirm that he has not retained undersigned for appeal

 and that he desires counsel to be appointed for appeal.




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                                LAW OFFICES OF PAUL D. PETRUZZI, P.A.
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          WHEREFORE, undersigned counsel, Paul D. Petruzzi, respectfully requests that

 this Honorable Court enter an order permitting him to withdraw as counsel for Travell

 Jones.

                                                       Respectfully submitted,

                                                       LAW OFFICES OF PAUL D. PETRUZZI, P.A.
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                                                       Penthouse 701
                                                       Miami, FL 33138
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                                                       By:      /s/ Paul Petruzzi
                                                                PAUL D. PETRUZZI, ESQ.
                                                                Florida Bar No. 982059



                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 26, 2019, a true and correct copy of the

 foregoing was furnished by CM/ECF to all counsel of record.


                                                       By:      /s/ Paul Petruzzi
                                                                PAUL D. PETRUZZI, ESQ.




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                                LAW OFFICES OF PAUL D. PETRUZZI, P.A.
